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                     UNITED STATES COURT OF APPEALS
                             FOR THE FIRST CIRCUIT
      ____________________________________
                                            )
      PEDRO LOPEZ, et al.                   )
                                            ) Case No. 14-1952
                     Plaintiffs-Appellants, )
                                            )
           v.                               )
                                            )
      CITY OF LAWRENCE, et al.,             )
                                            )
                     Defendants-Appellees )
      ____________________________________)

           PLAINTIFFS-APPELLANTS’ ASSENTED-TO MOTION FOR
       EXTENSION OF TIME TO FILE PETITION FOR PANEL REHEARING
                       AND REHEARING EN BANC

            Pursuant to Fed. R. App. P. 26(b), Plaintiffs-Appellants respectfully move

      for a 14-day extension of the deadline for filing a petition for panel rehearing and

      rehearing en banc. Appellants have not previously requested an extension.

            On May 18, 2016, this Court issued a 2-1 opinion in this case affirming the

      district court’s order finding that the use of a police sergeant’s promotional

      examination by the City of Boston, several other Massachusetts municipalities, and

      the Massachusetts Bay Transportation Authority (“MBTA”) in 2005 and 2008 did

      not constitute disparate impact racial discrimination under Title VII, 42 U.S.C. §

      2000e et seq. Appellants are currently evaluating that decision, along with the

      dissent, and are considering a petition for panel rehearing or rehearing en banc.

      The deadline for the filing any petition for rehearing or rehearing en banc is
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      currently June 1, 2016. See Fed. R. App. P. 35(c)( Fed. R. App. P. 40(a)(1). If the

      requested 14- extension is granted, any petition would be due on June 15, 2016.

            Good cause exists for a 14-day extension in these proceedings. First, the

      Court’s 41-page majority opinion and seven-page dissenting opinion address

      several important issues regarding Title VII that will have serious implications for

      many of the cities and towns throughout Massachusetts. Plaintiffs-Appellants ask

      for additional time to analyze the implications of the Court’s wide-ranging opinion.

            Second, Plaintiffs’ lead counsel, Harold Lichten, is currently responding to a

      motion for summary judgment in Hargrove v. Sleepy’s, No. 10-1138 (D.N.J.),

      involving claims by Sleepy’s delivery drivers that they were misclassified as

      independent contractors under New Jersey state law, that is due by June 1, 2016.

      The Sleepy’s case has been extensively litigated since 2009, including a ruling

      from the New Jersey Supreme Court on a certified question from the Third Circuit

      which identified, for the first time, what the proper independent contractor test was

      to be applied under the New Jersey wage laws. The defendant in Sleepy’s filed a

      50-page memorandum and a statement with 540 material facts in support of its

      motion for summary judgment that raises many issues of first impression under

      New Jersey law.

            Counsel for the Defendants-Appellees have been notified of this motion and

      counsel for Boston, Lawrence, Lowell, Springfield, and the MBTA have assented


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      to the request for an extension while counsel for Methuen and Worcester have not

      responded.

              A 14-day extension will allow Plaintiffs sufficient time to consider the

      Court’s opinion and, if necessary, to draft and file a petition for rehearing or for

      rehearing en banc. An extension of time would not be prejudicial to the

      Defendants-Appellees.

              For the forgoing reasons, Plaintiffs-Appellants request an extension of time

      of 14 days to file their petition for rehearing or for rehearing en banc, until June 15,

      2016.

                                              Respectfully submitted,
                                              PEDRO LOPEZ, et al.
                                              By their attorneys,


                                              /s/ Harold Lichten
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                               CERTIFICATE OF SERVICE

            I hereby certify that, on May 24, 2016, I caused a true copy of this document

      to be sent via the court’s CM/ECF system to all counsel of record.

                                            /s/ Harold L. Lichten _______
                                            Harold L. Lichten, Esq.




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